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                                                                 W .-                             ''
                          IJM TED STA TES DISTR ICT C O U RT                  nspm cusax          -...
                          W ESTERN   DISTRICT OF VIRGINIAHARRISONUURO njvjsjox'W n.v)j,
                                A BIN G D O N D IW SIO N                                      .




UNITED STATES OF AM ERICA
                                          :
              V.                                  caseNo. t'
                                                           .2xO & RO O O to
KAYLA QUESENBERRY                             Violations:     21U.S.C.jj841,846
                                      IN DIC TM EN T

                                       COUNT ONE

       The GrandJury chargesthat:

       1. On or about M ay 14, 2019, in the W estern District of Virgirlia, KAYLA

QUESENBERRY knowinglypossessedwithintenttodistribute,anddistributed,50grnmsormore
ofam ixttlre orsubstance containing a detectable amotmtofmethamphetnm ine,itssalts,isomers,

and saltsofitsisom ers.

      2.A11inviolationöfTitle21,United StatesCode,Sections841(a)(1)and 841(b)(1)(B).
                                       C O UN T TW O

       TheGrand Jury chargesthat:

       1. On or about M ay 30, 2019, in the W estem District of Virginia, KAYLA

QUESENBERRY knowinglypossessedwithintenttodistribute,anddistributed,50grnmsormore
ofam ixtureorsubstance containing adetectableam otmtofm ethamphetnmine,itssalts,isomers,

and saltsofitsisomers.

       2.AllinviolationofTitk 21,UnitedStatesCode,Sections841(a)(1)and 841(b)(1)(B).
                                      C O UN T TH R EE

       The Grand Jury chargesthat:'




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       1.Between on oraboutOctober2017 and Septem ber25,2019,in the W estem Districtof

Virginiaandelsewhere,KAYLA QUESENBERRY knowinglyconspiredwithothers,knownand
llnknown,topossesswith intenttodistribute,andto distribute,500gram sorm oreofamixtureor

substmwe containing a detectable nm ountofm ethamphetam ine,itssalts, isom ers,and salts of its

isomers.

       2.Al1in violation ofTitle21,United StatesCode,jections841(a)(1),841(b)(1)(A),and
846.

                                NOTICE OF FORFEITURE

       1. Upon conviction ofoneorm oreofthefelony offensesalleged in thisIndictment,the

defendantsshallforfeittotheUnited States:

           a. anyproperty constituting,orderived from ,anyproceedsobtained,directly
              orindirectly,asa resultofsaid offenses,ptlrsuantto21U .S.C.
              j853(a)(1).
           b. anyproperty used,orintendedto beused,in any mnnnerorpart,to
              commit,ortofacilitatethecomm ission ofsaid offenses,pttrsuantto 21
              U.S.C.j853(a)(2).
              any frearm used orintended to beusedto facilitatethetransportation,
              sale,receipt,possession,orconcealm entofcontrolled stibstancesand/or
              raw materials,asdescribedin21U.S.C.j881(a)(1)and(2),andany
              proceedstraceabletosuchproperty,ptlrsuantto21U.S.C.j881(a)(11)
              and28U.S.C.j2461(c).
       2. Thç property to be forfeited to the Uzlited States includes butis notlimited to the

           followingproperty:

              a. Five(5)cellulartelephones.
       3. Ifany oftheabove-described forfeitableproperty,asaresultofany actoromission of

thedefendants:

           a. cnnnotbe located upon theexerciseofdue diligence;
           b. hasbeen transfen'ed orsold to,ordeposited with athirdperson;


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          c. hasbeenplacedbeyondthejurisdictionoftheCourt;
          d. hasbeen substantially dim inished in value;or
          e. hasbeen com mingled with otherproperty which cnnnotbesubdivided
             withoutdifficulty;

itistheintentoftheUnited Statesto seek forfeitureofany otherproperty ofthe defendantsup to

thevalueoftheabove-describedforfeitableproperty,pursuantto21U.S.C.j853(19.

                         h%
ATRUEBILL,this 13               dayof        CZ,2020.


                                                       /s/Grand Jury Foreperson

 ee           M/                      .
                   .
                              ( .J.o
T O M A S T.CU LLEN
United StatesAttorney




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USAO #2018R00189
